              Case 1:08-cr-00379-AWI Document 184 Filed 08/28/09 Page 1 of 3


 1   LAW OFFICE OF DAVID A. TORRES
     Attorney at Law, SBN 135059
 2   1318 K Street
     Bakersfield, CA 93301
 3   Ph.: (661)326-0857
     Fax.: (661) 326-0936
 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     DAVID GARCIA
 6
 7
 8
                    IN THE UNITED STATES DISTRICT COURT
 9
               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,                          Case No.: 08-CR-00379 OWW
13
                                   PLAINTIFF,
14                                                      STIPULATION AND ORDER TO
                                                        CONTINUE SENTENCING
15                                                      HEARING
16   DAVID GARCIA,
17                                 DEFENDANT.
18
19   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: OLIVER
20   W. WANGER AND MARLON COBAR, ASSISTANT UNITED STATES ATTORNEY:
21          COMES NOW Defendant, DAVID GARCIA by and through his attorney
22   of record, DAVID A. TORRES hereby requesting that the sentencing hearing currently set for
23   August 31, 2009 be continued to September 14, 2009 at 9:00 a.m., or a date convenient to court
24   and counsel.
25          The defendant has requested a continuance of the sentencing in order to resolve personal-
26   family matters prior to sentencing.
27          I have contacted Assistant United States Attorney Marlon Cobar. He has no objection to
28   the continuance.
              Case 1:08-cr-00379-AWI Document 184 Filed 08/28/09 Page 2 of 3


 1          Based upon the foregoing, I respectfully request that this matter be continued to
 2   September 14, 2009.
 3          The parties also agree that the delay resulting from the continuance shall be excluded in
 4   the interest of justice pursuant to 18 U.S.C. §3161 (h)(8)(A) and §3161 (h)(8)(B)(I).
 5
 6
 7   Dated: 08/27/2009                                    /s/ David A. Torres
                                                          DAVID A. TORRES
 8                                                        Attorney for Defendant
                                                          AMEN AHMED ALI
 9
10                                                        McGREGOR W. SCOTT
                                                          United States Attorney
11
     Dated: 08-27-2009                                    By /s/ Marlon Cobar
12                                                        MARLON COBAR
                                                          Assistant U.S. Attorney
13
14
15
16
17
18
19
20
21
22
23
24
25
26   IT IS SO ORDERED.
27
28
            Case 1:08-cr-00379-AWI Document 184 Filed 08/28/09 Page 3 of 3


 1   Dated: August 27, 2009                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
